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 6
                                 UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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                                                               CASE NO.: 2:23-cv-01495-JHC
      FEDERAL TRADE COMMISSION, et al.,
10
                                                               STIPULATED MOTION AND
                       Plaintiffs,
11                                                             ORDER REGARDING SEALING
                                                               ISSUES
                  v.
12
      AMAZON.COM, INC., a corporation,
13                                                             NOTE ON MOTION CALENDAR:
                                                               May 28, 2025
                       Defendant.
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16          On October 28, 2024, this Court entered an Order Regarding Sealing Issues, ECF No.

17   320, which provides a sealing mechanism by which the parties may provisionally submit

18   documents under seal followed by a later omnibus motion to seal. The Order applied only to

19   discovery motions filed on or before October 31, 2024. The Court has extended this Order with

20   respect to certain motions in several instances. E.g., January 10, 2025 Order Extending

21   Deadlines, ECF No. 396; October 28, 2024 Order Extending Deadlines, ECF No. 323.

22          The parties will file their Joint Status Report on May 28, 2025, and agree that the sealing

23   procedure above should apply. Accordingly, the parties, by and through their attorneys of

24   record, hereby stipulate and agree, subject to the Court’s approval, that the Court’s October 28,

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 1   2024 Order regarding sealing issues shall apply separately to the Joint Status Report and any

 2   accompanying exhibits filed on May 28, 2025.

 3          Stipulated to and respectfully submitted this 28th day of May, 2025, by:

 4

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 1

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 1

 2                                         ORDER

 3         IT IS SO ORDERED.

 4         DATED this 29th day of May, 2025.

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 6
                                               JOHN H. CHUN
 7                                             UNITED STATES DISTRICT JUDGE

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